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                                                    Certificate Number: 00252-NYS-CC-003398821




                        CERTIFICATE OF COUNSELING

                  February 19, 2008
I CERTIFY that on _______________________,    10:49
                                           at _____________ o’clock ______________,

                                                                    AM EST

______________________________________________
Shlome Braun                                   received from


_____________________________________________________________________________,

Institute for Financial Literacy, Inc.

an agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the


Southern District of New York
_______________________________________, an individual [or group] briefing that complied


with the provisions of 11 U.S.C. §§ 109(h) and 111. 


                      was not prepared
A debt repayment plan _________________. If a debt repayment plan was prepared, a copy of


the debt repayment plan is attached to this certificate.


                                      by internet and telephone
This counseling session was conducted _____________________________.




      February 19, 2008
Date: _______________________                  By      /s/Kyle Smith
                                                       ___________________________________

                                                    Kyle Smith
                                               Name ___________________________________

                                               Title   ___________________________________
                                                       Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
